Case 6:17-cv-00533-JDK-JDL Document 1-5 Filed 09/18/17 Page 1 of 2 PageID #: 95




                                                        Cause No. DCCV!(l-356-349

    CITY OF PALESTINE, TEXAS,
                      Plaint(//;

     vs.
     JERRY LAZA,
                                          De/(!ndanl.
                                                                              ANDERSON COUNTY, TEXAS
     JERRY LAZA,
                                          Counter-pia iJzr(ff,

     VS.

     CITY OF PALESTINE, MIKE ALEXANDER,
     AND RONALD STUTES,
                       Coull! er-de.fi:nda 11 ts.                               349th JUDICIAL DISTRICT


                                 ORDER GRANTING COUNTER-DEFE!'\DANT CITY OF
                                        PALESTINE'S MOTIO!'\ TO SEVER

                On the 1st day of September, 2017, came to be heard the Motion to Strike and in the

     Alternative Motion to Sewr filed by Counter-Defendant City of Palestine in the above-referenced

     case.

                The Court finds that the Motion to sever is well-founded, and that Defendant Jerry Laza 's

     First and Second Amended Counterclaims would. il'not severed. inevitably delay the initial lawsuit.

                ACCORDINGLY, it is hereby mdcrcd that the counterclaims filed by defendant and

     Counter-Plaintiff in Defendant Jerry Laza's [7iftb Amended Original Answer and Defendant Jerry

     Laza's Second Amended Counterclaim Prscrvation of Counterclaim, and Petition for Relief and

     Inverse Condemnation and Violation of Texas Open Meetings Act, Seeking Damages, Altemative

     Damages and Demand J'or Jury Trial which were new and additional counterclaims and which were

     not pled in Defendant's Pleadings prior to the filing of Defendant Jerry Laza's Fourth Amended

     Original Answer and Defendant JcJTY Laza 's Second Amended Counterclaim. and Petition for Relief

     and Inverse Condemnation and Violation of Texas Open Meetings Act, Seeking Damages and

     ORUER GRANTING COUNTER-IHTEND:\NT CITY OF PALESTINE'S
     :\10TION TO SEVER- Page I
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Case 6:17-cv-00533-JDK-JDL Document 1-5 Filed 09/18/17 Page 2 of 2 PageID #: 96




     Demand for Jury Tri•1l be and the same arc hereby severed into a separate suit. which shall be given

     the Cause Number DCCV 16-356-349A.

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     ORDER GRANTING COUNTER-DEFENDANT CITY OF PALESTINE'S
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